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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS



IN RE: PHARMACEUTICAL INDUSTRY                       MDL NO. 1456
AVERAGE WHOLESALE PRICE
LITIGATION


THIS DOCUMENT RELATES TO:                            CIVIL ACTION: 01-CV-12257-PBS

BMS SETTLEMENT                                       Judge Patti B. Saris


                 [PROPOSED] ORDER REVISING SCHEDULE RELATED TO
                     FINAL APPROVAL OF THE BMS SETTLEMENT

         The Court has considered Class Plaintiff’s Status Report and Motion to Reschedule Dates

Related to Final Approval of the BMS Settlement and grants the motion. The schedule

associated with notice and the final approval of the BMS settlement is hereby amended as

follows:

              Date                                            Event
December 22, 2010             Mailing of summary notice and claim card to the members of Class 1

January 21, 2011              Deadline for Class 1 members to return claim cards
January 28, 2011              Mailing of full notice to Class 1 members returning claim card
                              complete
January 28, 2011              Briefs in support of final approval and Class Counsel’s fee petition
                              filed
February 18, 2011             Deadline for objections, requests for exclusions, and notices of
                              appearance for Class 1 consumers only
February 25, 2010             Final Fairness Hearing (to be determined by the Court based on the
                              Court’s availability).


         In addition, on November 30, 2010, Class Counsel shall provide the Court with a report

describing the status of the CMS vendor’s efforts to meet the December 10, 2010 deadline for



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production of the Class 1 data.



Date: ______________________                 _________________________________
                                             Patti B. Saris
                                             United States District Judge




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